                      Case 8:16-bk-10424-SC               Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52              Desc
                                                           Main Document     Page 1 of 9


                                1    JEFFREY K. GARFINKLE (SBN: 153496)
                                     MIRCO J. HAAG (SBN: 316111)
                                2    BUCHALTER
                                     A Professional Corporation
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                                5             mhaag@buchalter.com
                                6    Attorneys for Thomas H. Casey, Litigation Trustee of Litigation Trust for California Hispanic
                                     Commission on Alcohol and Drug Abuse, Reorganized Debtor
                                7

                                8

                                9

                           10                               UNITED STATES BANKRUPTCY COURT

                           11                                CENTRAL DISTRICT OF CALIFORNIA

                           12                                          SANTA ANA DIVISION

                           13        In re                                               Case No. 8:16-bk-10424-SC
                           14        CALIFORNIA HISPANIC COMMISSION                      Chapter 11
                                     ON ALCOHOL AND DRUG ABUSE,
                           15                                                            MOTION OF THE LITIGATION
                                                       Debtor.                           TRUSTEE TO (1) APPROVE FIRST
                           16                                                            AND FINAL DISTRIBUTION TO
                                                                                         HOLDERS OF ALLOWED
                           17                                                            UNSECURED CLAIMS AND (2)
                                                                                         REQUEST FOR COMPENSATION
                           18                                                            FOR LITIGATION TRUSTEE
                                                                                         THOMAS H. CASEY FOR THE TIME
                           19                                                            PERIOD OF APRIL 1, 2019 THROUGH
                                                                                         OCTOBER 31, 2019, COUNSEL FOR
                           20                                                            LITIGATION TRUSTEE BUCHALTER
                                                                                         FOR THE TIME PERIOD OF APRIL 1,
                           21                                                            2019 THROUGH OCTOBER 31, 2019,
                                                                                         AND ESTIMATED ACCOUNTANT
                           22                                                            FEES
                           23                                                            [No Hearing Required per Local
                                                                                         Bankruptcy Rule 9013-1(o)(1)]
                           24
                                                                                         Judge:       Hon. Scott C. Clarkson
                           25

                           26

                           27

                           28
      BUCHALTER                     BN 38263707v2                                  1
A PROFES SION AL CORPORAT ION
           IRVINE                     MOTION TO (1) APPROVE DISTRIBUTION TO HOLDERS OF ALLOWED UNSECURED CLAIMS
                                                  AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
                      Case 8:16-bk-10424-SC                  Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52               Desc
                                                              Main Document     Page 2 of 9


                                1          Thomas H. Casey, Litigation Trustee of the Litigation Trust for the Reorganized Debtor
                                2   California Hispanic Commission on Alcohol and Drug Abuse (“Litigation Trustee” for the
                                3   “Debtor”), hereby moves the Court to approve the first and final distribution to holders of allowed
                                4   unsecured claims and to approve the request for compensation (the “Motion”), and respectfully
                                5   represents as follows:
                                6          I.        PROCEDURAL BACKGROUND
                                7          On July 31, 2017, this Court entered the Order Confirming the Plan (the “Confirmation
                                8   Order”). [Docket No. 444.] The Effective Date of the Plan was July 31, 2017. Under the Plan, a
                                9   litigation trust (“Litigation Trust”) was created for the purpose of collecting and liquidating assets
                           10       of the Debtor for the benefit of the Debtor’s creditors. Buchalter, P.C. (“Buchalter”) was approved
                           11       as general bankruptcy counsel to the Litigation Trustee by this Court’s order. [Docket No. 467.]
                           12       By means of this Motion the Litigation Trustee seeks approval of and authorization to make the
                           13       final distributions to creditors that resulted from his diligent performance of his duties to achieve
                           14       the Litigation Trust’s objectives.    The amount projected to be distributed to each creditor is
                           15       delineated in the attachments to the separately filed Declaration of Thomas H. Casey (“Casey
                           16       Declaration”).
                           17              II.       THE PROPOSED DISTRIBUTION IS FAIR AND EQUITABLE
                           18              The Litigation Trust was “established for the purpose of collecting, holding, administering,
                           19       distributing, and liquidating” certain of the Debtor’s assets and “to make distributions” to holders
                           20       of general unsecured claims entitled to receive distributions. [Docket No. 331 at 4.] Among the
                           21       duties of the Litigation Trustee, and except for the claim filed by Genesis Title Holding
                           22       Corporation, is to determine which scheduled and filed claims are to be objected to, whether
                           23       objections to scheduled claims and proofs of claims were to be pursued, if such claims were to be
                           24       paid, reduced, or otherwise contested as contingent, unliquidated or disputed, or the subject of
                           25       pending or forthcoming litigation.
                           26              In order to be able to achieve that objective, the Litigation Trustee analyzed each of the
                           27       claims (both scheduled and filed) and participated in litigation achieve reductions or denials of a
                           28       number of those claims. In total, the Litigation Trustee filed over 60 claim objections and
      BUCHALTER                     BN 38263707v2                                2
A PROFES SION AL CORPORAT ION
           IRVINE                     MOTION TO (1) APPROVE DISTRIBUTION TO HOLDERS OF ALLOWED UNSECURED CLAIMS
                                                  AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
                      Case 8:16-bk-10424-SC                      Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52             Desc
                                                                  Main Document     Page 3 of 9


                                1   requesting their disallowance or reduction (the “Claim Objections”). All of the Claim Objections
                                2   have been resolved and the Court has entered orders disallowing or modifying challenged claims.
                                3              While the Litigation Trust was in existence, the Debtor and the Litigation Trustee resolved
                                4   a non-dischargeability action against the Debtor (Adv. Pro. No. 8:17-ap-01053-SC). The Debtor
                                5   and the County of Orange reached a resolution that includes the County of Orange holding an
                                6   allowed general non-priority unsecured claim in the amount of $353,946.49. The Court approved
                                7   of this compromise and the case was terminated on February 21, 2018.
                                8              Finally, the Debtor commenced an adversary proceeding against Long Term Care Properties
                                9   (“LTCP”) prior to the Litigation Trustee’s appointment to recover $166,000 in allegedly voidable
                           10       transfers (Adv. Pro. No. 8:17-ap-01025-SC). The Debtor and LTCP reached a resolution which
                           11       includes the Litigation Trustee stipulating that LTCP holds an allowed general non-priority
                           12       unsecured claim in the amount of $3,811,013.46. On November 13, 2018, the Court approved this
                           13       compromise.
                           14                  As a result of efforts to determine the holders of allowed claims and the amounts of their
                           15       claims through the claim review and objection process, the Litigation Trustee has compiled a list
                           16       of allowed unsecured claims entitled “Claims Proposed Distribution” that accurately reflects the
                           17       claims upon which the Final Distribution must be based. Casey Declaration at ¶ 5. That Claims
                           18       Proposed Distribution List, which is organized alphabetically in order to permit claimants to readily
                           19       determine the claim amount upon which each distribution is to be based, is attached to the Casey
                           20       Declaration as Exhibit 1.
                           21                  In addition to the claims on the Claims Proposed Distribution List, the Litigation Trust will
                           22       pay fees and costs for the Litigation Trustee and Buchalter, as well as the fees and costs for the
                           23       Litigation Trustee’s proposed accountant Hahn Fife & Co., LLP (“Hahn Fife”) 1. While these fees
                           24       are estimated and will accrue as the Litigation Trustee administers this case, a reasonable estimate
                           25       of expected fees has been reserved. The Claims Proposed Distribution List demonstrates that, after
                           26       reserving for the payment of estimated fees and costs that remain to be paid by the Litigation Trust
                           27       to obtain the final decree required by the Plan, there remains approximately $132,150.41 available
                           28       1
                                        The Hahn Fife will file an employment application with this Court.
      BUCHALTER                     BN 38263707v2                                              3
A PROFES SION AL CORPORAT ION
           IRVINE                        MOTION TO (1) APPROVE DISTRIBUTION TO HOLDERS OF ALLOWED UNSECURED CLAIMS
                                                     AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
                      Case 8:16-bk-10424-SC                Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52                Desc
                                                            Main Document     Page 4 of 9


                                1   for distribution to general unsecured creditors. The amount of the proposed final distribution to
                                2   each unsecured creditor demonstrated on the Claims Proposed Distribution List was determined on
                                3   a pro rata basis by dividing the $132,150.41 distribution amount by the aggregate amount of
                                4   unsecured claims ($5,361,467.96) and multiplying that resulting percentage distribution (2.46%)
                                5   by the amount of each unsecured creditor’s allowed unsecured claim. Casey Declaration at ¶ 7.
                                6          In order to further assist claimants in the determination of the proposed treatment of their
                                7   claims, the Trustee also compiled a list of disallowed claims entitled “Creditor Non-Payment
                                8   Schedule” that demonstrates each of the claims that were disallowed. The Creditor Non-Payment
                                9   Schedule, which is also organized alphabetically to permit any noticed party to readily ascertain
                           10       that they are not to receive a distribution based upon these disallowed claims, is attached to the
                           11       Casey Declaration as Exhibit 2.
                           12              There remain variables that could slightly impact the ultimate distribution to general
                           13       unsecured creditors, such as a variance in the reserved costs for professionals associated with the
                           14       process of obtaining a final decree closing the Debtor’s case. For example, the Litigation Trustee
                           15       is engaging professionals to prepare a final tax return. As a result of these presently unforeseeable
                           16       circumstances, this Motion seeks approval to make a distribution in an amount within a range of
                           17       2.00% to 2.46% on allowed general unsecured claims.
                           18              To ensure that each unsecured creditor is provided one final opportunity to review the
                           19       distribution schedule, this Motion provides each creditor (as well as each party that may have had
                           20       its alleged claim disallowed) a final opportunity to object to the proposed treatment and either seek
                           21       to resolve any differences directly with the Litigation Trustee or file an objection with this Court
                           22       for resolution at the hearing on the Motion. In order to achieve that objective a Notice of Motion
                           23       will be served upon all creditors in the Debtor’s case.
                           24              Bankruptcy courts may, after the filing of a motion with or without notice to the creditors,
                           25       approve a compromise or settlement. Fed. R. Bankr. P. 9019(a), LBR 9013-1(o). In reviewing a
                           26       proposed settlement or compromise (e.g., a distribution and payment of allowed claims), the Court
                           27       must determine that (1) it is “fair and equitable,” Protective Comm. for Ind. Stockholders of TMT
                           28       Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424, 88S. Ct. 1157, 1163 (1968), and (2) in the best
      BUCHALTER                     BN 38263707v2                                   4
A PROFES SION AL CORPORAT ION
           IRVINE                     MOTION TO (1) APPROVE DISTRIBUTION TO HOLDERS OF ALLOWED UNSECURED CLAIMS
                                                  AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
                      Case 8:16-bk-10424-SC                Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52                Desc
                                                            Main Document     Page 5 of 9


                                1   interests of the estate, In re Best Prods. Co., 168 B.R. 35, 50 (Bankr. S.D.N.Y. 1994). Rule 9019(a)
                                2   submits the approval or rejection of such distribution to the sound discretion of the bankruptcy
                                3   court. In re Michael, 183 B.R. 230, 232 (Bankr. D. Mont. 1995). While this Motion is technically
                                4   not a compromise, the Court may nonetheless approve this under Rule 9019 and the Court’s post-
                                5   confirmation jurisdiction under the confirmed Plan.
                                6          After completion of the proposed distribution, the Litigation Trustee will determine the
                                7   additional steps necessary to wind up the Litigation Trust and obtain a Final Decree. Such next
                                8   steps including filing a final tax return. The Litigation Trust Agreement provides in Section 10.2
                                9   that upon “the payment of all costs, expenses, and obligations incurred in connection with
                           10       administering the [Litigation] Trust, and the Distribution of all Trust Assets in accordance with the
                           11       provisions of the Plan, the Confirmation Order, and this Agreement, the [Litigation] Trust shall
                           12       terminate and the Trustee shall have no further responsibility in connection therewith.” [Docket
                           13       No 311 at 21.] Accordingly, the Trustee will take the necessary steps to terminate the Litigation
                           14       Trust with the payment of all costs, and expenses and obligations.
                           15              III.    REQUEST FOR FEES AND COSTS
                           16              The Litigation Trust Agreement at paragraph 9.8 provides:
                           17              "the Trustee shall receive fair and reasonable compensation for its services, which
                                           shall be a charge against and paid out of the Trust Assets. Professionals who may
                           18
                                           be employed by the Trustee in administering the Trust, in carrying out their
                           19              responsibilities under this Agreement, or in any manner connected, incidental, or
                                           related thereto, shall submit a copy of their invoices to the Trustee and the
                           20              Bankruptcy Court for approval. Provided there is no objection to such professionals'
                                           invoices within 14 days of filing, the invoices may be paid by the Trustee. Any
                           21              dispute regarding professional invoices shall be determined by the Bankruptcy
                           22              Court."

                           23              On June 29, 2018, the Litigation Trustee filed a Notice of Request for Compensation for

                           24       Litigation Trustee Thomas H. Casey for the Time Period of July 28, 2017 through May 31, 2018

                           25       in the amount of $10,178.10 and Counsel for Litigation Trustee, Buchalter for the Time Period of

                           26       October 2, 2017 through May 31, 2018 in the amount of $9,062.33 [Docket No. 486] (“First Fee

                           27       Request”). Having received no opposition to the First Fee Request, the fees and expenses requested

                           28       by the Litigation Trustee and Buchalter were paid.
      BUCHALTER                     BN 38263707v2                                  5
A PROFES SION AL CORPORAT ION
           IRVINE                     MOTION TO (1) APPROVE DISTRIBUTION TO HOLDERS OF ALLOWED UNSECURED CLAIMS
                                                  AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
                      Case 8:16-bk-10424-SC                Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52               Desc
                                                            Main Document     Page 6 of 9


                                1            On May 2, 2019, the Litigation Trustee filed a Notice of Request for Compensation for
                                2   Litigation Trustee Thomas H. Casey for the Time Period of June 1, 2019 through March 31, 2019
                                3   in the amount of $5,287.31 and Counsel for Litigation Trustee, Buchalter for the Time Period of
                                4   June 1, 2019 through March 31, 2019 in the amount of $53,593.00 [Docket No. 685] (“Second Fee
                                5   Request”). Having received no opposition to the Second Fee Request, the fees and expenses
                                6   requested by the Litigation Trustee and Buchalter were paid.
                                7            Attached to the Casey Declaration as Exhibit 3 and incorporated herein by this reference
                                8   are the monthly invoices for the Litigation Trustee for the time period of April 1, 2019 through
                                9   October 31, 2019, in addition to an estimation of fees and costs for the wind-up of the Litigation
                           10       Trust, and summarized as follows:
                           11                Month and Year                        Fees                           Costs
                           12        April 2019                       $1098.50                        $0.00
                           13        May 2019                         $407.50                         $408.53
                           14        June 2019                        $336.00                         $20.50
                           15        July 2019                        $185.50                         $0.00
                           16        August 2019                      $858.00                         $0.00
                           17        September 2019                   $316.50                         $67.60
                           18        October 2019                     $429.00                         $0.00
                           19        Estimated Remaining Fees $1,500.00                               $0.00
                           20        and Costs
                           21        Total                            $5,131.00                       $496.63
                           22                Attached to the Casey Declaration as Exhibit 4 and incorporated herein by this reference
                           23       are the monthly invoices for Buchalter for the time period of April 1, 2019 through November 8,
                           24       2019, in addition to an estimation of fees and costs for the wind-up of the Litigation Trust, and
                           25       summarized as follows:
                           26
                                             Month and Year                        Fees                           Costs
                           27
                                     April 2019                       $9,977.50                       $279.55
                           28
      BUCHALTER                     BN 38263707v2                                   6
A PROFES SION AL CORPORAT ION
           IRVINE                     MOTION TO (1) APPROVE DISTRIBUTION TO HOLDERS OF ALLOWED UNSECURED CLAIMS
                                                  AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
                      Case 8:16-bk-10424-SC                 Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52                  Desc
                                                             Main Document     Page 7 of 9


                                1
                                     May 2019                           $1,625.00                         $168.40
                                2
                                     June 2019                          $2,047.50                         $118.83
                                3
                                     July 2019                          $1,072.50                         $14.18
                                4
                                     August 2019                        $0.00                             $6.40
                                5
                                     September 2019                     $0.00                             $0.00
                                6
                                     October 2019             $780.00                                     $0.00
                                7    Estimated Remaining Fees
                                     and Costs                $15,000.00                                  $0.00
                                8
                                     Total                              $35,402.50                        $687.36
                                9

                           10                The Litigation Trustee seeks payment of these accrued fees and costs, as well as the

                           11       estimated fees and costs not to exceed $1,500 for the Litigation Trustee and not to exceed

                           12       $15,000.00 for Buchalter.

                           13                Finally, the Litigation Trustee seeks approval for payment of estimated fees and costs not

                           14       to exceed $2,500 for the accounting professionals Hahn Fife to assist in the termination of the

                           15       Litigation Trust, including the filing of a final tax return.

                           16                IV.    CONCLUSION

                           17                For the foregoing reasons, this Court should (i) approve the proposed distributions within a

                           18       range of 2.00% to 2.46% on allowed general unsecured claims and authorize the Litigation Trustee

                           19       to make those distributions and take all steps necessary to terminate the Litigation Trust; (ii)

                           20       authorization to pay the accrued and estimated fees and costs to the Litigation Trustee and Buchalter

                           21       and (iii) provide any further relief the Court deems just and proper in these circumstances.

                           22       DATED: November 6, 2019                         BUCHALTER, A Professional Corporation
                           23

                           24                                                       By:    /s/ Mirco J. Haag
                                                                                            MIRCO J. HAAG
                           25                                                               Attorneys for Thomas H. Casey, Litigation
                           26                                                               Trustee of the Litigation Trust for California
                                                                                            Hispanic Commission on Alcohol and Drug
                           27                                                               Abuse, Reorganized Debtor

                           28
      BUCHALTER                     BN 38263707v2                                      7
A PROFES SION AL CORPORAT ION
           IRVINE                     MOTION TO (1) APPROVE DISTRIBUTION TO HOLDERS OF ALLOWED UNSECURED CLAIMS
                                                  AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
         Case 8:16-bk-10424-SC                  Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52                                      Desc
                                                 Main Document     Page 8 of 9
                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Buchalter, 18400 Von Karman Avenue, Suite 800, Irvine, CA 92612

A true and correct copy of the foregoing document entitled (specify): MOTION OF THE LITIGATION TRUSTEE TO (1)
APPROVE FIRST AND FINAL DISTRIBUTION TO HOLDERS OF ALLOWED UNSECURED CLAIMS AND (2)
REQUEST FOR COMPENSATION FOR LITIGATION TRUSTEE THOMAS H. CASEY FOR THE TIME PERIOD OF
APRIL 1, 2019 THROUGH OCTOBER 31, 2019, COUNSEL FOR LITIGATION TRUSTEE BUCHALTER FOR THE
TIME PERIOD OF APRIL 1, 2019 THROUGH OCTOBER 31, 2019, AND ESTIMATED ACCOUNTANT FEES

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 8, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 8, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

 Debtor
 California Hispanic Commission on
 Drug and Alcohol Abuse
 1419 21st St
 Sacramento, CA 92511

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 8, 2019 , I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

VIA OVERNIGHT DELIVERY:
Honorable Scott C. Clarkson
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593                                                                  Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  November 8, 2019               Danielle Cyrankowski                                          /s/ Danielle Cyrankowski
  Date                                  Printed Name                                           Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
BN 38333265v1
        Case 8:16-bk-10424-SC                   Doc 733 Filed 11/08/19 Entered 11/08/19 16:16:52                                      Desc
                                                 Main Document     Page 9 of 9
TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Bert Briones on behalf of Interested Party Bert Briones helpdesk@redhilllawgroup.com,
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Alberto J Campain on behalf of Creditor 2309 Daly Street, Inc. campain@ecofflaw.com, kay@ecofflaw.com
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lcantor@pszjlaw.com
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Oscar Estrada oestrada@ttc.lacounty.gov
Nancy S Goldenberg on behalf of Debtor California Hispanic Commission on Drug and Alcohol
Abuse nancy.goldenberg@usdoj.gov
James C Harman on behalf of Creditor County of Orange james.harman@coco.ocgov.com,
patti.owens@coco.ocgov.com
James KT Hunter on behalf of Defendant California Hispanic Commission on Alcohol and Drug Abuse, Inc.
jhunter@pszjlaw.com
Randall P Mroczynski on behalf of Creditor Ford Motor Credit Company LLC randym@cookseylaw.com
Victoria Newmark on behalf of Debtor California Hispanic Commission on Drug and Alcohol
Abuse vnewmark@pszjlaw.com
R Gibson Pagter on behalf of Creditor Long Term Care Properties, Inc. gibson@ppilawyers.com,
ecf@ppilawyers.com;pagterrr51779@notify.bestcase.com
Dean G Rallis on behalf of Interested Party Dean G. Rallis Jr. drallis@afrct.com,
msinclair@afrct.com;AFRCTECF@afrct.com;mpham@afrct.com;drallis@ecf.courtdrive.com
Michael B Reynolds on behalf of Creditor California Physicians' Service dba Blue Shield of
California mreynolds@swlaw.com, kcollins@swlaw.com
Michael R Totaro on behalf of Debtor California Hispanic Commission on Drug and Alcohol Abuse Ocbkatty@aol.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
John H Wunsch on behalf of Creditor Wells Fargo Bank, National Association bankruptcycls@wellsfargo.com,
wunschjh@wellsfargo.com




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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